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                                             COURT MINUTES                                              Page 4

                                 Magistrate Judge Edwin G. Torres
                        King Building Courtroom 10-5                       Date: 9/1/2021      Time: 10:00 a.m.
Defendant: Daisuke Miyauchi                  J#: 62087-509 Case #: 21-MJ-3549-REID
AUSA: Thomas Watts-Fitzgerald                          Attorney: Samuel Rabin
Violation:    Consp/Smuggle wildlife from the US/Smuggling of Goods/Merchandise
Proceeding: RRC/Detention                                      CJA Appt:
Bond/PTD Held: Yes        No         Recommended Bond: PTD
Bond Set $1 million corporate surety with nebbia          Co-signed by:
at:
     Surrender and/or do not obtain passports/travel docs       Language: Japanese
     Report to PTS as directed/or            x’s a week/month by      Disposition:
     phone:          x’s a week/month in person                         Brady already given
     Random urine testing by Pretrial Services                         Defendant consents to appear by VTC
     Treatment as deemed necessary
                                                                       Counsel has filed a PERMANENT
     Refrain from excessive use of alcohol
                                                                       Notice of Appearance on ECF (de 7)
     Participate in mental health assessment & treatment
                                                                       The parties STIPULATE to bond with
     Maintain or seek full-time employment/education                   the right to revisit (NO HEARING HELD)
     No contact with victims/witnesses                                 The parties agree to continue the
     No firearms                                                       preliminary arraignment.
     Not to encumber property
     May not visit transportation establishments
     Home Confinement/Electronic Monitoring and/or
     Curfew          pm to           am, paid by
     Allowances: Medical needs, court appearances, attorney visits,
     religious, employment
     Travel extended to:                                                Time from today to ________ excluded
     Other:                                                             from Speedy Trial Clock

NEXT COURT APPEARANCE    Date:               Time:           Judge:                       Place:
Report RE Counsel:
PTD/Bond Hearing:
Preliminary/Arraignment:     10/15/21        10:00          Miami Duty
Status Conference RE:
D.A.R. EGT-01/9-1-2021-ZOOM-10:18 am & 10:45 am                       Time in Court: 8
